Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 1 of 33 Page|D #: 4393

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

JEFFREY M. NORMAN,
Plaintiff,
v.
DAVID W. ELKIN, RICHARD M. .
SHORIN and : Civil Action NO. O€-OOB-JJF
THE ELKIN GROUP, INC., '
Defendants,
and

US MOBILCOMM, INC.,

Nominal Defendant.

 

Sean J. Bellew, Esquire and David A. Felice, Esquire Of BALLARD
SPAHR ANDREWS & INGERSOLL, LLP, Wilmington, Delaware.

Attorneys for Plaintiff.

Steven L. Caponi, Esquire and Christine S. Azar, Esquire cf BLANK
ROME LLP, Wilmington, Delaware.

Attorneys for Defendants.

MEMORANDUM OPINION

July §Zl_, 2010
Wilmington, Delaware.

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 2 of 33 Page|D #: 4394

a/\*V‘é»\_,
Far n, D s `ct Judge

Pending before the Court are the reserved claims and the
post-trial motions of Plaintiff ("Plaintiff") Jeffery M. Norman
and Defendants David W. Elkin, Richard M. Shorin, and The Elkin
Group (collectively, "Defendants"). For the reasons discussed,
the Court will grant judgment in favor of Defendants on all of
Plaintiff's claims except the second and third grounds of
Plaintiff’s breach of contract claim. The jury’s verdict in
favor of Plaintiff on the second and third grounds of Plaintiff’s
breach of contract claim will stand, but the jury's verdict on
Plaintiff's fraud and conversion claims will be vacated. An
amended Judgment Order will be entered with regard to all claims.
In addition, Plaintiff’s Motion For Pre-Judgment Interest, Post-
Judgment Interest And Attorneys’ Fees On Judgment For Breach Of
Contract, Fraud, And Unjust Enrichment Against Defendant David
Elkin (D.I. 134), and Defendants’ Motion To Strike Plaintiff’s
Reply To Defendants’ Brief In Opposition To Plaintiff’s Opening
Post-Trial Memorandum On His Equitable Claims And Renewed Motion
For Judgment As A Matter Of Law (D.I. l53) will both be denied.

I . 131L\cI<GR0UNDl

Plaintiff and Defendant Elkin formed U.S. Mobilcomm, Inc.

 

l The background relevant to this action has been set forth
fully by the Court in previous decisions entered in this case.
(§ee D.I. 98). Only those facts relevant to post-trial issues
will be repeated herein.

Case 1:O6-CV-OOOO5-LPS Document 156 Filed 07/30/10 Page 3 of 33 Page|D #: 4395

(“USM”) to participate in the wireless communications industry by
acquiring 220 MHZ licenses, constructing wireless communications
systems, and marketing the service. Plaintiff and Defendant
Elkin and are the only two shareholders of USM, although they
disagree Over the precise nature of their agreement to fund USM.
USM was the holder of “Phase I” 220 MHZ licenses. In l998, the
Federal Communications Commission (“FCC”) announced it would
auction “Phase II” 220 MHZ licenses. Phase I license holders,
like USM, were given the opportunity to participate in Phase II
auctions as qualified bidders upon meeting certain criteria. In
public documents, the FCC recognized USM as a qualified bidder in
Auction Number 18, and as the winning bidder for certain Phase II
licenses. The FCC registration was later amended to list The
Elkin Group as the bidder. At some point later, bundled sales of
these Phase l and Phase II licenses were conducted.

Also relevant is a Shareholder Loan Agreement, made
effective as of September l, l995, but which was apparently
executed years after 1995. The Shareholder Loan Agreement stated
that all funds provided by Defendant Elkin to or on behalf of USM
in excess of $420,000 would be provided as a loan and would be
repaid by USM prior to any distributions. In the instant action,
Plaintiff generally alleges that Defendants mismanaged USM
through the execution of the Shareholder Loan Agreement and the

transfer of auction rights to The Elkin Group, and that

Case 1:O6-CV-OOOO5-LPS Document 156 Filed 07/30/10 Page 4 of 33 Page|D #: 4396

Defendants inappropriately distributed funds that came into USM
following the sale of the 220 MHZ licenses.

On November 16, 2004, prior to the instant action, Plaintiff
brought an action against Defendants in the Court of Chancery of
the State of Delaware pursuant 8 Qel4 Q; § 220 (the “§ 220
Action”), concerning the inspection of books and records.
Defendant initiated the instant action on December 5, 2005, in
the Court of Chancery. On January 3, 2006, Defendant filed a
Notice of Removal and removed the action to this Court. (D.l.
1.) A three day jury trial was held, during which Plaintiff
asserted nine claims: fraud, breach of contract,
conversion/misappropriation, breach of fiduciary duty (loyalty
and disclosure), aiding and abetting breach of fiduciary duty,
usurpation of corporate opportunity, unjust enrichment, and
declaratory judgment. Only the breach of contract, fraud, and
conversion claims were presented to the jury. The jury found for
Plaintiff on each of these claims, and awarded Plaintiff $1 in
nominal damages on the breach of contract claim, $105,756 in
compensatory damages and $48,000 in punitive damages on the fraud
claim, and $38,000 in compensatory damages on the
conversion/misappropriation claim. (D.l. 118; D.I. 131 at 131-
33.) The Court reserved judgment on the remaining claims.
Additionally, the Court reserved judgment on whether all of

Plaintiff's claims are barred by the applicable statute of

Case 1:O6-CV-OOOO5-LPS Document 156 Filed 07/30/10 Page 5 of 33 Page|D #: 4397

limitations.
This Memorandum Opinion constitutes the Court’s decision on
all pending post-trial matters.

II. DEFENDANTS' AFFIRMATIVE. DEFENSE oF THE sTATUTE oF
LIMI'I'E\.'I'IONS2

A. Whether The Doctrine Of Laches Applies

As an initial matter, Plaintiff contends that the doctrine
of laches should be applied instead of the statute of
limitations. (D.I. 144 at 9.) Defendants oppose the application
of laches, contending that it is substantively inapplicable.

(D.I. 152 at 6.)

The Court concludes that the statute of limitations, and not
the doctrine of laches, is applicable to this action. While the
statute of limitations has been at issue throughout this
litigation, Plaintiff raises his argument concerning laches for

\\

the first time post-trial. Further, under Delaware law, an
action . . . for damages or other relief which is legal in nature

is [generally] subject to the statute of limitations rather than

 

2 Defendants filed a Motion To Strike Plaintiff’s Reply To
Defendants’ Brief In Opposition To Plaintiff’s Opening Post-Trial
Memorandum On His Equitable Claims And Renewed Motion For
Judgment As A Matter Of Law, contending that Plaintiff’S Reply
Brief should be stricken because it impermissibly raises issues
and arguments which should have been included in the Opening
Brief. (D.I. 153.) Because the Court concludes that Plaintiff
did not “reserve material for the reply brief which should be
included in a full and fair opening brief,” D. Del. R.
7.1.3(c)(2), but rather, responded to arguments raised in
Defendants’ Answer Brief, the Motion To Strike will be denied.

Case 1:O6-CV-OOOO5-LPS Document 156 Filed 07/30/10 Page 6 of 33 Page|D #: 4398

the equitable doctrine of laches.” Cantor v. Perelman, 414 F.3d

 

430, 439 (3d Cir. 2005)(citing LaventholJ Krekstrein, Horwath &
Horwath v. Tuckman, 372 A.2d 168, 169-70 (Del. 1976)).
Accordingly, the Court will consider Defendants’ assertion that
the claims are time-barred under the statute of limitations, not
the doctrine of laches.

B. Whether The Jury Verdict Provides Guidance On The
Statute Of Limitations

The jury found that Plaintiff did not knowingly waive his
rights under the parties’ agreement. (D.I. 118.) In making this
finding, Plaintiff contends that the jury necessarily determined
whether Plaintiff was aware of the injury caused to him, and
therefore the jury verdict should guide the Court in its
application of the statute of limitations. (D.I. 144 at 6-8.)

In response, Defendants contend that the jury considered the
issue of waiver only in regard to the breach of contract claim
(not all claims), and in any event, a finding of waiver on a
contractual claim has no bearing on Defendants’ statute of
limitations defense. (D.I. 152 at 4-5.)

In the Court’s view, the jury’s verdict is irrelevant to the
Court’s examination of the statute of limitations and tolling.
The jury did not Consider the evidence as it relates to the
statute of limitations. In addition, waiver and statute Of
limitations issues are not synonymous: waiver involves the

knowing relinquishment of a legal right, whereas the relevant

Case 1:O6-CV-OOOO5-LPS Document 156 Filed 07/30/10 Page 7 of 33 Page|D #: 4399

inquiry for statute of limitations purposes is whether Plaintiff
had inquiry notice. Accordingly, the Court will consider the
applicability of the statute of limitations as a separate legal

issue and without regard to the jury’s verdict.

C. Whether Plaintiff's Claims Are Barred By The Statute Of
Limitations

ln its September 26, 2007 Memorandum Opinion, the Court
determined that Delaware's three-year limitations period applied
to Plaintiff's breach of contract claim, and that Pennsylvania’s
two-year limitations period applies to all of Plaintiff's other
claims. (D.I. 70 at 9.) Further, the Court concluded that
“without application of a tolling doctrine, Plaintiff's claims
would be time-barred by the statute of limitations.” (ld;)
However, the Court declined to grant summary judgment on statute
of limitations grounds, finding that “in the circumstances in
this case, the date on which Plaintiff knew or should have known
the facts constituting his claims is a material dispute of fact.”
(ld; at 12.)

By his Post-Trial Memorandum On Matters Reserved By The
Court, Plaintiff contends that the statute of limitations should
be tolled on all of his claims for two reasons (D.l. 144 at 3).
First, Plaintiff contends that Defendants fraudulently concealed
the relevant information regarding the breach of contract and

fraud claims. Second, Plaintiff contends that Defendants engaged

Case 1:O6-CV-OOOO5-LPS Document 156 Filed 07/30/10 Page 8 of 33 Page|D #: 4400

in wrongful self-dealing concerning the remaining claims. The
will consider each of Plaintiff's arguments in turn.
1. Legal Standard

Fraudulent concealment tolls the statute of limitations upon
an affirmative act of concealment. See Capricorn Pharma, lnc. v.
Matrixx Initiatives, Inc., No. 08-873-JJF, 2009 U.S. Dist. LEXIS
73227, at *9-10 (D. Del. Aug. 19, 2009)(citing Halpern v. Barran,
313 A.2d 139, 143 (Del. Ch. 1973))(internal quotation
omitted)(“Under Delaware law, fraudulent concealment tolls a
statute of limitations where a defendant has done some
affirmative act or acts involving actual artifice which prevents
a plaintiff from discovering the facts giving rise to his or her
cause of action, or where a defendant has made some
misrepresentation which is intended to put the plaintiff off the
trail of inquiry...”); see also Fine v. Checcio, 870 A.2d 850,
860 (Pa. 2005)(the doctrine of fraudulent concealment “provides
that the defendant may not invoke the statute of limitations, if
through fraud or concealment, he caused the plaintiff to relax
his vigilance or deviate from his right of inquiry into the
facts.”). However, the statute of limitations is only tolled,
until the plaintiff receives inquiry notice of his or her cause
of action (i.e., when the plaintiff knew or should have known of
the facts in the claim asserted based on discovery of the wrong

or the fraudulent concealment). See Capricorn Pharma, 2009 U.S.

Case 1:O6-CV-OOOO5-LPS Document 156 Filed 07/30/10 Page 9 of 33 Page|D #: 4401

Dist. LEXIS 73227, at *9-10 (“Where a defendant has fraudulently
concealed the grounds for a plaintiff's cause of action, the
statute of limitations is suspended only until plaintiff's rights
are discovered or until they could have been discovered by the
exercise of reasonable diligence.”); see also §in§, 870 A.2d at
861 (Pa. 2005)(“a statute of limitations tolled by virtue of
fraudulent concealment begins to run when the injured party knows
or reasonably should know of his injury and its cause”).

In addition to instances of fraudulent concealment, the
statute of limitations can also be tolled when a fiduciary
wrongfully engages in self-dealing. See Bovav v. BVllest, 38
A.2d 808 (Del. 1944); see also Schwartz v. Pierucci, 60 B.R. 397,
403 (E.D. Pa. 1986)(“[w]here a fiduciary commits an act of fraud
against his principal, the statute of limitations will be
tolled”). “A defendant's actionable self-dealing, however, only
works to toll the statute until the plaintiff becomes aware of
the wrong.” Ruqqerio v. Estate of Poppiti, No. 18961-NC, 2005
Del. Ch. LEXIS 32, at *16 (Feb. 23, 2005). “lnquiry notice does
not require the plaintiff to have actual knowledge of the wrong,
but merely an objective awareness of the facts giving rise to the
wrong.” Vichi v. Koninklijke Philips Elecs. N.V., No. 2578-VCP,
2009 Del. Ch. LEXIS 209, at *57 (Dec. 1, 2009). A significant
level of evidence is needed to put a party on inquiry notice

under Pennsylvania law because of the inherent trust existing in

Case 1:06-CV-OOOO5-LPS Document 156 Filed 07/30/10 Page 10 of 33 Page|D #: 4402

fiduciary relationships. In re Mushroom Transp. Co., 382 F.3d
325, 343 (3d Cir. 2004).

Plaintiff maintains the burden of proving that the statute
of limitations is tolled. §ee Ruggerio, 2005 Del. Ch. LEXIS at
*16. Consideration of whether that burden is met “may involve a
fact intensive inquiry to determine when a reasonable person in
plaintiffs' position knew or should have known of the claim.”

Cantor v. Perelman, 414 F.3d 430, 441 (3d Cir. 2005).

2. Breach Of Contract Claim

Plaintiff contends that Defendant Elkin breached an
agreement between the parties by: (l) failing to contribute
capital to USM; (2) executing his Shareholder Loan Agreement; and
(3) failing to distribute proceeds from the sale of USM assets on
a pro rata basis. (D.I. 61 (Pre-Trial Order).)

Defendants contend that the first and third grounds asserted
by Plaintiff are barred by the statute of limitations.
Specifically, Defendants contend Plaintiff was fully aware, long
before the instant action was filed, that Defendant Elkin had
failed to make capital contributions and pro rata distributions
to USM. (D.I. 138 at 4-8.) In response, Plaintiff contends that
he did not know, or have reason to know, of these underlying
facts until the § 220 Action, and thus, the statute of
limitations should be tolled on both of these grounds for his

breach of contract claim. (D.I. 144 at 9.)

Case 1:06-CV-OOOO5-LPS Document 156 Filed 07/30/10 Page 11 of 33 Page|D #: 4403

In the Court’s view, the trial record clearly establishes
that Plaintiff believed Defendant Elkin had not contributed his
share of USM's capital long before he initiated this action. At
trial, Plaintiff testified that he understood his agreement with
Defendant Elkin to require Defendant Elkin to deposit his
contribution at the same time as Plaintiff's contribution (D.I.
129, Trial Tr. Day 1 at 157), and that within one year of
Plaintiff's contribution in 1994, Plaintiff was aware that
Defendant Elkin had not made his full contribution. (ld4 at 157-
58.) Plaintiff even memorialized his knowledge that Defendant
Elkin had not deposited his capital contribution in a January 20,
1995 letter from Plaintiff's attorney requesting that the full
contribution be made. (lc_j4 at 162-64.) Accordingly, the Court
concludes that Plaintiff had actual knowledge of the facts giving
rise to his breach of contract claim based on Defendant's failure
to make contributions by at least 1995, a decade before the
instant action was instituted.

However, the Court concludes that Plaintiff's claim is not
time-barred to the extent Plaintiff alleges that Defendant Elkin
breached the agreement between the parties by failing to
distribute proceeds from the sale of USM assets on a pro rata
basis. Defendant contends that Plaintiff had inquiry notice of
this claim by October 2002, because Plaintiff testified that

Defendant Elkin informed him of the sale of USM assets, and his

10

Case 1:06-CV-OOOO5-LPS Document 156 Filed 07/30/10 Page 12 of 33 Page|D #: 4404

attorney sent a letter requesting information from Defendant
Elkin as a result. (Tr. 113:5-9.) According to Defendant Elkin,
the December 3, 2002 letter to Plaintiff confirms the fact that
Plaintiff had been on inquiry notice of this claim since October
2002.

The letter sent from Plaintiff's counsel to Defendant Elkin
is not in evidence, and therefore, the Court cannot consider it.
Further, the Court finds, based on the evidence adduced at trial,
that Plaintiff did not learn of the Shareholder Loan Agreement
(and its purported recharacterization of Defendant Elkin's equity
contributions into shareholder loans) until October 2003. The
December 3, 2002 letter represented to Plaintiff that the
proceeds of sales of USM assets were used to pay legal fees and
original licencees, and to repay equipment and shareholder loans.
Thus, the Court concludes that at the time of this letter,
Plaintiff did not possess sufficient facts to be placed on
inquiry notice that Defendant Elkin had not distributed the
proceeds on a pro rata basis.3 Accordingly, the Court concludes
that Plaintiff's breach of contract claim based on Defendant's
failure to distribute proceeds is not time-barred.

Therefore, the jury’s verdict in favor of Plaintiff on the

breach of contract claim will stand to the extent it is based on

 

3The Court notes that Defendant Elkin has not contested the
sufficiency of the evidence on the jury’s finding of breach of
contract for failure to make pro rata distributions.

11

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 13 of 33 Page|D #: 4405

Defendant Elkin's failure to distribute proceeds from the sale of
USM assets on a pro rata basis, and will be vacated to the extent
it is based on Defendant Elkin's failure to contribute capital to
USM.

3. Fraud Claim

Two letters form the basis of Plaintiff's fraud claim.
According to Plaintiff, a December 3, 2002 letter (DTX 120) from
Defendant Elkin to Plaintiff's counsel misrepresented the total
proceeds USM received from the sale of the 220 MHz licenses and
the total amount distributed to Defendant Elkin. In addition,
Plaintiff alleges that the December 2002 letter omitted the
material fact that the shareholder loans were once paid in
capital. (D.I. 144 at 14-15.) In addition, Plaintiff contends
that the October 2003 letter from Defendant Elkin to Plaintiff's
counsel, which contained the Shareholder Loan Agreement between
USM and Defendant Elkin and an itemized schedule of Defendant
Elkin's contributions and distribution, was an “affirmative
fraudulent disclosure.” (;d4 at 17.)

Plaintiff contends that the statute of limitations should be
tolled on his fraud claim because Defendants fraudulently
concealed the claim, and because Plaintiff was not placed on
inquiry notice of the claim until after the § 220 Action. (ld4
at 15-17.) In response, Defendants maintain that the fraud claim

is time-barred because there is no evidence of fraudulent

12

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 14 of 33 Page|D #: 4406

concealment, and because Plaintiff was on inquiry notice by
October 2003, before the commencement of the § 220 Action.
Reviewing the evidence adduced at trial in light of the
relevant legal principles, the Court concludes that the doctrine
of fraudulent concealment is inapplicable to toll the statute of
limitations through the pendency of § 220 Action. Fraudulent
concealment requires an affirmative independent act of
concealment upon which Plaintiff justifiably relied. Montanya v.
McGoneqal, 757 A.2d 947, 951 (Pa. Super. 2000). Although
Plaintiff contends that Defendant Elkin engaged in “affirmative
acts of diverting, misleading and preventing discovery of company
information” (D.I. 144 at 16), Plaintiff has failed to present
any record evidence supporting his claim. In the Court’s view,
the only concealment suggested by Plaintiff is the alleged
inaccuracies and misinformation within the December 2002 and
October 2003 letters, which form the basis of the fraud claim
itself. Accordingly, the Court concludes that Plaintiff has
failed to prove that Defendant Elkin engaged in an affirmative,
independent act of concealment with regard to the fraud claim.
In addition, the Court concludes that the § 220 Action will
not operate to toll the statute of limitations in a situation
such as this, where Plaintiff had inquiry notice of his fraud
claim before initiating the § 220 Action. Cf. Technicorp Int'l

II, Inc. v. Johnston, No. 15084, 2000 Del. Ch. LEXIS 81, *30 (May

13

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 15 of 33 Page|D #: 4407

31, 2000)(“It is settled Delaware law that the institution of
other litigation to ascertain the facts involved in the later
suit will toll the statute [of limitations] while that litigation
proceeds.”). Specifically, the Court concludes that Plaintiff
had inquiry notice of his fraud claim as it pertains to both
letters by October 2003. The Shareholder Loan Agreement and
Schedule in the October 2003 letter indicated that $692,426 in
shareholder loans were repaid to Defendant Elkin between 1999 and
2002. (DTX 121.) This figure was substantially different than
the shareholder loan repayment figure provided by Defendant Elkin
in the December 2002 letter for the same relevant time period.
(Compare DTX 120 and 121.) Although Plaintiff may not have
obtained the full factual details of his fraud claim until the §
220 Action, the Court concludes that Plaintiff possessed
sufficient facts as of October 2003 to be put on inquiry notice
of his fraud claim. Accordingly, the Court concludes that
Plaintiff's fraud claim is time-barred, that the jury’s verdict
in favor of Plaintiff will be Vacated, and that judgment will be
entered in favor of Defendants on this claim.

4. Conversion And Usurpation Of Corporate Opportunity
Claims

Plaintiff's claims for conversion and usurpation of
corporate opportunity are both based on Defendant Elkin's act of
substituting The Elkin Group for USM as the applicant for

participation in the FCC's Auction Number 18. (D.l. 138 at 21

14

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 16 of 33 Page|D #: 4408

(citing Pre-Trial Order at 5).) Defendant contends that the
statute of limitations on both claims expired in October 2000,
two years after Auction Number 18 was conducted, and that no
tolling principles apply. Specifically, Defendants contend that
Plaintiff had sufficient information in his possession to learn
of his conversion and usurpation claims by December 2002, at the
latest.

In response, Plaintiff contends that the statute of
limitations was tolled because he had no reason to know of the
facts underlying his conversion or usurpation claims until the §
220 Action. (D.I. 144 at 21.) Plaintiff also contends that
Defendant Elkin obstructed Plaintiff's attempt to obtain facts
regarding the sale of USM assets, and that given Defendant
Elkin's fiduciary role as majority shareholder, Plaintiff had no
reason to distrust Defendant Elkin.

After reviewing the evidence adduced at trial in light of
the relevant legal principles, the Court concludes that Plaintiff
had inquiry notice of his conversion and usurpation claims before
initiating the § 220 Action. Plaintiff testified that in
November 1998, he tracked the results of Auction Number 18 on the
FCC website. (D.I. 129, Trial Tr. Day 1 at 121:9 - 122:7.)
Public notices were available on the FCC website which listed the
same licenses won by USM in Auction Number 18 as being owned by

The Elkin group. (DTX 106.) Plaintiff testified “there would

15

1

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 17 of 33 Page|D #: 4409

have been no reason for me to dig” to find these notices, but
acknowledged that “there probably was a way I could have tracked
this information down." (Tr. 178:13-25.) In the Court’s view,
the existence of publicly available information concerning The
Elkin Group's purported ownership demonstrates that Plaintiff was
not incapable of learning the facts giving rise to his conversion
and usurpation claims until the § 220 Action. See Seidel v. Lee,
954 F. Supp. 810, 817 (D. Del. 1996)(stating that shareholders
are entitled to their fiduciaries, but that shareholders “should
not put on blinders to such obvious signals as publicly filed
documents”).

More significantly, Plaintiff testified that purchase and
sale agreements between USM and third parties were included in
the December 2002 letter from Defendant Elkin to Plaintiff's
counsel. (Tr. 117:20- 188:15.) The purchase agreements indicate
that The Elkin Group owned the Phase ll licenses won in Auction
Number 18. (DTX 120 at PLTF 1672-73, 1693.) Plaintiff testified
that

when I did get these documents, and l was reading, 1
saw the reference to The Elkin Group, and it was odd because

I had just seen that [USM] had won the licenses. l remember

actually going back and checking the FCC website and seeing

that [USM] is the winner of the 220 auctions.

So I remember going back to [Plaintiff's counsel' and
we discussed that. But I went to sort of check it out and
looked on the FCC website and it still had [USM] as the

winner.

(Tr. 132:1-10.)

16

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 18 of 33 Page|D #: 4410

Thus, Plaintiff's own testimony indicated that he noticed an
apparent discrepancy as to who owned the Phase II licenses, and
that he thought enough of the issue to discuss it with his lawyer
and look at the FCC website again. However, Plaintiff fails to
direct the Court to any evidence that he diligently pursued the
issue and investigated why the purchase agreement listed The
Elkin Group as the owner of the licenses. Given these
circumstances, the Court concludes that Plaintiff was placed on
inquiry notice of his conversion and usurpation claims by
December 2002, at the latest. Accordingly, the Court concludes
that Plaintiff's conversion and usurpation claims are time-
barred, and therefore, the Court will grant judgment in favor of
Defendant on these claims.

5. Breach Of Fiduciary Duty Of Loyalty Claim

Plaintiff alleged that Defendant Elkin breached his
fiduciary duty of loyalty on four grounds: (1) by engaging in
self-dealing when he used USM’s position during Auction Number 18
for the benefit of The Elkin Group, and ultimately, himself; (2)
by engaging in a self-interested transaction, the execution of
the Shareholder Loan Agreement; (3) by conducting the business of
USM for himself as a purported creditor rather than for the
benefit of USM’s equity owners; and (4) by forcing USM into
insolvency or the zone of insolvency after execution of the

Shareholder Loan Agreement. (D.I. 144 at 25-27.) Defendants

17

l

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 19 of 33 Page|D #: 4411

contend that the first two grounds of Plaintiff's breach of the
duty of loyalty claim rest on the same alleged acts of misconduct
as Plaintiff's fraud and conversion claims, and that like those
claims, Plaintiff's breach of the duty of loyalty claim is barred
by the statute of limitations.4 (D.I. 138 at 29.) Plaintiff
contends that he had no reason to know that the FCC registration
was amended to list The Elkin Group as owner of the Phase 11
licenses, or that Elkin distributed proceeds of The Elkin Group's
sale of those licenses to himself, until the § 220 Action. (D.l.
144 at 25.) Further, Plaintiff contends that even though he was
aware that Defendant Elkin had executed a Shareholder Agreement,
Plaintiff could not have learned about the self-interest involved
until the § 220 Action, when he discovered that Defendant Elkin
recharacterized a portion of his capital contributions as
shareholder loans. (ld; at 26.)

To the extent Plaintiff bases his breach of the duty of
loyalty claim on Defendant Elkin's participation in Auction
Number 18, the Court concludes the claim is time-barred. As
discussed sup;a, Plaintiff knew USM had won Phase II licenses
during Auction Number 18, but by December 2002, Plaintiff had

inquiry notice that The Elkin Group was listed as owner of these

 

4Defendant does not contend that the third and fourth
grounds of Plaintiff's breach of the duty of loyalty claim are
time-barred, but rather, that they fail on the merits. (D.I. 138
at29.) Accordingly, the merits of this portion of Plaintiff's
breach of the duty of loyalty claim will be discussed infra.

18

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 20 of 33 Page|D #: 4412

licenses. The December 2002 letter also provided Plaintiff with
notice of the sale of licenses and the distribution of sale
proceeds. Therefore, the Court concludes that Plaintiff had
inquiry notice of the material facts constituting the first
aspect of his breach of the duty of loyalty claim by December
2002.

To the extent Plaintiff bases his breach of the duty of
loyalty claim on Defendant Elkin's execution of the Shareholder
Loan Agreement, the Court also concludes that the claim is time-
barred. Plaintiff testified that he had actual knowledge of the
existence of the Shareholder Loan Agreement in October 2003.

(Tr. 136:8-11.) Plaintiff's contention that he had no reason to
know of the allegedly self-interested nature of the Shareholder
Loan Agreement is unavailing. As the only other shareholder,
Plaintiff was aware of how much capital Defendant Elkin
contributed. (_aa DTX 116.) Plaintiff had notice that Defendant
Elkin had repaid shareholder loans as a result of the December
2002 letter, (DTX 120.) Additionally, Plaintiff was, or should
have been, aware of the different shareholder loan repayment
figures reported by Defendant Elkin in the October 2003 letter,
(Compare DTX 120 aaa 121.) lt is also noteworthy that Plaintiff
fails to cite to any specific facts relevant to his breach of the
duty of loyalty claim which he learned through the § 220 Action,

yet was unaware of in October 2003. Given these circumstances,

19

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 21 of 33 Page|D #: 4413

the Court concludes that by October 2003, Plaintiff was
objectively aware of facts giving rise to his claim that
Defendant Elkin engaged in a self-interested transaction through
his execution of the Shareholder Loan Agreement. Accordingly,
the Court concludes that Plaintiff's breach of the duty of
loyalty claim is time-barred, and therefore, the Court will grant
judgment in favor of defendant on this claim.

6. Breach Of Fiduciary Duty Of Disclosure Claim

Plaintiff alleged that Defendant Elkin breached his
fiduciary duty of disclosure on three grounds: (1) by failing to
provide Plaintiff with notice and/Or the right to vote on the
sale of substantially all of USM’s assets; (2) by failing to
disclose the sale of license and/or distribution of profits; and
(3) by failing to disclose or seek approval for execution of the
Shareholder Loan Agreement. (D.I. 144 at 28.) Defendant
contends that this claim is time-barred because Plaintiff knew by
December 2002, that nearly a11 of USM's assets had been sold,
particularly the licenses, and that he had not been given an
opportunity to vote on that sale. (D.l. 138 at 32-33.) Further,
Defendant contends that Plaintiff knew about the execution of the
Shareholder Loan Agreement, which was done without his approval,

in October 2003. ( d.) 1n response, Plaintiff contends that he

had no reason to know about the sale Of all assets until the §

220 Action, when he discovered a tax return indicating a

20

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 22 of 33 Page|D #: 4414

different figure for the value of Phase 1 licenses sold than had
been represented by Defendant Elkin in the December 2002 letter,
(D.l. 144 at 28-29.) ln addition, Plaintiff contends that
although he knew about the execution of the Shareholder Loan
Agreement, he had no reason to know of its self-interested nature
until the § 220 Action. (la4 at 29.)

To the extent Plaintiff's claim for breach of the duty of
disclosure is based on Defendant Elkin's failure to seek approval
of the Shareholder Loan Agreement, the Court concludes the claim
is time-barred. Plaintiff's own testimony demonstrates that he
knew Defendant Elkin entered into the Shareholder Loan Agreement
with USM and that his approval had not been sought:

Q: So you knew in October 2003 that [Mr. Elkin] had cut a

shareholder loan agreement, and at least you had what
Mr. Elkin represented to be the amount of those loans,

correct?
A: That's correct.
Q: But you knew when you received this that you had not

been asked to approve or authorize this document,
correct?

A: That's correct.
(Tr. 136:8-14.) Moreover, as discussed aap;a, Plaintiff was in
possession of sufficient facts such that he should reasonably
have suspected that the Shareholder Loan Agreement was an
interested transaction.

To the extent Plaintiff's claim for breach of the duty of

disclosure is based on Defendant Elkin's failure to disclose the

21

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 23 of 33 Page|D #: 4415

sale of licenses and/or distribution of profits, the Court
likewise concludes that the claim is time-barred. The December
2002 letter detailed the sale licenses, attached relevant
purchase agreements, and stated how Defendant Elkin purportedly
disposed of the proceeds. (DTX 120.) Plaintiff initially denied
having seen the purchase agreements attached to the December 2002
letter (Tr. 115:12-14), although he later admitted that “1 guess
l would like to change my answer to say that maybe, if they were
attached to the letter that went to the attorney at that date,
then [having seen them] is a possibility.” (Tr. 117:25-118:2.)
ln any event, the Court concludes that the December 2002 letter
and its attachments placed Plaintiff, at a minimum, on inquiry
notice that licenses and been sold and distributions made from
the proceeds.

Finally, to the extent Plaintiff's claim for breach of the
duty of disclosure is based on Defendant Elkin's failure to
provide Plaintiff with notice and/or the right to vote on the
sale of substantially all of USM’s assets, the Court concludes
the claim is time-barred. Plaintiff testified that besides the
licenses he obtained for USM, he was not aware of any other
assets owned by USM or any acts it had taken to increase its
market value. (Tr. 91:15-25.) Plaintiff further testified that
Defendant Elkin informed him that some of USM’s assets had been

sold, and when he was unable to get information about the sales

22

l

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 24 of 33 Page|D #: 4416

from Defendant Elkin, he obtained an attorney. (Tr. 113:5-9.)
ln addition, as previously discussed, by December 2002 Plaintiff
had inquiry notice that USM had sold licenses, and that The Elkin
Group was listed as owning Phase ll licenses won by USM in
Auction Number 18. Thus, the Court concludes that Plaintiff was,
or should have been, aware of the facts underlying his claim that
Defendant breached the duty of disclosure prior to the § 220
Action. Accordingly, the Court concludes that Plaintiff's claim
of breach of the duty to disclose is time-barred, and therefore,
the Court will grant judgment in favor of Defendants on this
claim.
7. Declaratory Judgment, Unjust Enrichment Claims

Because Plaintiff's declaratory judgment and unjust
enrichment claims are based on the same facts as previously
addressed in Plaintiff's other claims, the Court concludes that
these claims are barred by the statute of limitations.
Accordingly, for the reasons previously discussed, the Court will
enter judgment in favor of Defendants on these claims.
III. EVALUATION OF THE MERITS OF PLAINTIFF' S REMAINING CLAIMS

A. Whether Defendant Is Entitled To Judgment As A Matter

of Law On Plaintiff's Breach Of Contract Claim

The jury found in Plaintiff's favor on Plaintiff's claim

that Defendant Elkin breached an agreement between the parties by

executing the Shareholder Loan Agreement. (D.l. 118.)

23

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 25 of 33 Page|D #: 4417

Defendants do not contend that the breach of contract claim was
barred by the statute of limitations in this regard. By its
Motion For Judgment as a Matter of Law, Defendants contend that
Plaintiff's claim fails as a matter of law because “there was no
testimony at trial that the parties had ever reached an agreement
that their capital contributions over the required amounts could
not be treated as loans or that the parties agreed not to loan
money to USM.” (D.l. 135 at 18.) ln response, Plaintiff
contends that the parties' agreement required Defendant Elkin to
maintain $750,000 of his funds in USM's capital account, and that
the Shareholder Loan Agreement caused a breach because the amount
of Defendant Elkin's funds in the capital account dropped to
$420,000. (D.l. 146 at 16.) ln reply, Defendants contend that
this is a new theory of liability raised for the first time post-
trial, and that Plaintiff is actually attempting to get a “second
crack at his breach of contract claim for the failure to
contribute [] required capital in a timely manner.” (D.l. 150 at
13.)

Pursuant to Rule 50 of the Federal Rules of Civil Procedure,
a court may grant judgment as a matter of law if “the court finds
that a reasonable jury would not have a legally sufficient
evidentiary basis” to find for a party on a given issue after
that party has been fully heard. Fed. R. Civ. P. 50(a). ln

assessing the sufficiency of the evidence, a court must review

24

l

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 26 of 33 Page|D #: 4418

all of the evidence in the record, viewing it in the light most
favorable to the non-moving party and giving the non-moving party
the benefit of all fair and reasonable inferences that could be
drawn from it. Reeves v. Sanderson Plumbinq Prods., lnc., 530
U.S. 133, 150 (2000); see also Williamson v. Consol. Rail Corp.,
926 F.2d 1344, 1348 (3d Cir. 1991). A court must not weigh the
evidence, evaluate the credibility of the witnesses, or
substitute its own version of the facts for the jury’s. Marra v.
Phila. Hous. Auth., 497 F.3d 286, 300 (3d Cir. 2007). Although a
court should grant judgment as a matter of law sparingly, it is
appropriate where only a “scintilla of evidence” supports the
verdict, or where “the record is critically deficient of the
minimum quantum of evidence” needed to support the verdict.
Johnson v. Campbell, 332 F.3d 199, 204 (3d Cir. 2003)(citing
Gomez v. Alleqhenv Health Servs;l lnc., 71 F.3d 1079, 1083 (3d
Cir. 1995)).

ln order to prevail on a breach of contract claim, Plaintiff
must prove that (1) a contract existed; (2) the defendant
breached the contractual obligations; and (3) the breach resulted
in damage to the plaintiff. See VLIW Tech., LLC v. Hewlett-
Packard Co., 840 A.2d 606, 612 (Del. 2003). Viewing the evidence
in the light most favorable to Plaintiff, as verdict winner, the
Court concludes that there was a legally sufficient evidentiary

basis for a reasonable jury to conclude that Defendant Elkin

25

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 27 of 33 Page|D #: 4419

breached an agreement with Plaintiff by allowing his capital
contributions to USM to fall below $750,000. ln his testimony,
Defendant Elkin strongly objected to the existence of an
agreement whereby he would contribute $750,000 in capital to USM
and Plaintiff would contribute $250,000 in capital. (§aa D.l.
130, Trial Tr. Day 2 at 228:8-231:15.) However, Defendant
Elkin's testimony is contrary to the statement of uncontested
facts in Defendants’ own Pre-Trial Order, which reads:

The required capital of the corporation [USM] was determined

to be $1 million, making Elkin's capital requirement

$750,000 and [Plaintiff]'s $250,000.
(D.l. 61 p. 8 I D.) The Shareholder Loan Agreement purported to
convert any funds contributed by Defendant Elkin above $420,000
from capital to loans. (_aa DTX 121.) Thus, the Court concludes
that sufficient evidence was presented on which the jury could
have concluded that an agreement between Plaintiff and Defendant
Elkin existed for Defendant Elkin to contribute $750,000 in
capital, and that Defendant Elkin breached that agreement when he
executed the Shareholder Loan Agreement to convert any funds in
excess of $420,000 from capital to loans. Accordingly, the Court
will deny Defendants’ Motion For Judgment As A Matter of Law as
it relates to the second ground of Plaintiff's breach of contract
claim.

B. Whether Plaintiff Is Entitled To Judgment In Its Favor

On The Reserved Breach Of The Duty Of Loyalty Claim

The Court has already concluded that the first two grounds

26

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 28 of 33 Page|D #: 4420

upon which Plaintiff asserted a breach of the fiduciary duty of
loyalty are barred by the statute of limitations. With regard to
the third and fourth grounds asserted by Plaintiff- that
Defendant Elkin allegedly conducted business with USM for the
benefit of himself as a creditor and that Defendant Elkin forced
USM into insolvency following execution of the Shareholder Loan
Agreement- both parties fail to address the merits of the claim.
lnstead, Plaintiff and Defendants both blame the other for not
addressing these grounds for liability, and both contend that
they should prevail as a result of the other’s failure.

ln a claim for breach of the fiduciary duty of loyalty, the
Delaware Court of Chancery has stated that “[a] shareholder that
owns a majority interest in a corporation, or exercises actual
control over its business affairs, occupies the status of a
fiduciary to the corporation and its minority shareholders. And
where a shareholder owing such fiduciary duties stands on both
sides of a challenged transaction, it will be required to
demonstrate that the transaction was entirely fair to the
corporation. ln re MAXXAM, lnc., 659 A.2d 760, 771 (Del.Ch.
1995)(internal citations omitted). lt is undisputed that as the
majority shareholder, Defendant Elkin was a fiduciary. Further,
the Court agrees that when Defendant Elkin executed the
Shareholder Loan Agreement in his personal capacity and in his

capacity as President of USM, he stood on both sides of a

27

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 29 of 33 Page|D #: 4421

challenged transaction. However, by failing to discuss the third
and fourth grounds for his duty of loyalty claim, Plaintiff has
failed to identify how the challenged transaction impacts each of
these grounds, Further, Plaintiff is not entitled to shift the
burden of proving entire fairness to Defendants. Accordingly,
the Court concludes that Defendants are entitled to judgment in
their favor on the third and fourth grounds of Plaintiff's breach
of the fiduciary duty of loyalty claim.

Defendants are also entitled to judgment in their favor
because, in the Court’s view, the challenged transaction
underlying both the third and fourth grounds of this claim is
actually Defendant Elkin's execution of the Shareholder Loan
Agreement. To the extent Plaintiff raises a breach of the duty
of loyalty claim based on the execution of the Shareholder Loan
Agreement, the Court has already concluded that it is time-
barred. §apra.

C. Whether Plaintiff Is Entitled To Judgment In Its Favor

On The Reserved Aiding And Abetting Claim

Plaintiff alleged that Defendant Shorin aided and abetted
Defendant Elkin's breaches of fiduciary duty by “working the FCC
Phase 11 auctions, filing misleading federal tax returns and
making improper distributions.” (D.l. 137 at 7.) Under Delaware
law, a party is liable for aiding and abetting a fiduciary’s

breach of duty if the plaintiff proves: “(1) the existence of a

28

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 30 of 33 Page|D #: 4422

fiduciary relationship, (2) a breach of the fiduciary’s duty, (3)
knowing participation in that breach by the defendants, and (4)
damages proximately caused by the breach.” Malpiede v. Townson,
780 A.2d 1075, 1096 (Del. 2001) (internal quotation omitted).

Although Defendant Elkin was in the position of a fiduciary,
the Court concludes that Plaintiff has not proven the remaining
elements by a preponderance of the evidence. Particularly,
Plaintiff did not prove by a preponderance of the evidence that
Defendant Shorin knowingly participated in the actions alleged to
have been a breach of fiduciary duty. Plaintiff attempts to poke
holes in Defendant Shorin's testimony and argue that Defendant
Shorin was aware of the asserted breaches of fiduciary duties.
(D.1. 151 at 11.) While Defendant Shorin's testimony may have
been self serving, the Court is not persuaded that it
demonstrates knowing participation. (§aa D.1. 130 Trial Tr. at
93-187.) Additionally, Plaintiff did not present any other
evidence concerning Defendant Shorin's knowledge.

With regard to damages associated with aiding and abetting,
Plaintiff contends that Defendant Shorin’s actions “proximately
caused Plaintiffs [sic] damages in that he was deprived of his
share of distributions from the sale of the Phase 1 and 11
licenses.” (D.1. 151 at 14.) However, Plaintiff has failed to
present evidence from which the Court could determine with any

specificity what portion of these alleged damages are associated

29

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 31 of 33 Page|D #: 4423

with the instant claim. Accordingly, the Court concludes that
Plaintiff has not met his burden of proving all required elements
of an aiding and abetting a breach of a fiduciary duty claim, and
therefore, the Court will enter judgment in favor of Defendant
Shorin on this claim.
IV. PLAINTIFF'S MDTION FOR INTEREST AND ATTORNEYS' FEES
Following conclusion of the jury trial, the Court entered
Judgment in favor of Plaintiff and against Defendants.5 (D.1.
123.) By the instant Motion, Plaintiff seeks pre-judgment
interest, post-judgment interest and an award of attorneys' fees
on the Court’s Judgment on Plaintiff's breach of contract and
fraud claims.6 (D.1. 134.) Plaintiff contends that pursuant to
an order an judgment, he is entitled to pre-judgment and post-
judgment interest as a matter of right, Plaintiff further
contends that he is entitled to attorneys fees under the common
benefit doctrine and the bad faith exception to the American
Rule.

1n light of the Court’s holdings regarding the fraud claim

 

5Contrary to Plaintiff's representation, this is not a Final
Judgment Order,

6Plaintiff also seeks pre-judgment interest, post-judgment
interest and an award of attorney's fees on the unjust enrichment
claim. The Court will not address Plaintiff's request to this
extent, however, because the issue of unjust enrichment was not
presented to the jury. Rather, Plaintiff's unjust enrichment
claim was reserved by the Court and the Judgment Order entered on
May 18, 2009 does not pertain to this claim.

30

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 32 of 33 Page|D #: 4424

in this Memorandum Opinion, Plaintiff's request for and pre-
judgment interest on the compensatory damages award on the fraud
claim will be denied. The Court further concludes that there is
no basis for an award of attorneys’ fees because Plaintiff has
not demonstrated that the “litigation conferred a substantial
benefit on a clearly defined group,” Dover Historical Soc’vl 1nc.
v. Citv of Dover Planning Comm’n, 902 A.2d 1084, 1089 (Del.
2006), or the existence of bad faith in order to justify an award
of attorneys’ fees.

The Court concludes that Plaintiff is entitled to post-

judgment interest on the total judgment sum (which now only

applies to the judgment on the breach of contract claim). See LQ
Display CoLJ Ltd. v. AU thronics Corp., - F. Supp. 2d -, 2010 WL

 

2720816, at *6 (D. Del. 2010)(citing 28 U.S.C. § 1961)(holding
that pre-judgment interest is mandatory on any money judgment
recovered in a civil case in district court). Federal courts
sitting in diversity must apply federal law, rather than state
law, in determining post-judgment interest, See N. Am.
§peciality 1ns. Co. v. Chichester Sch. Dist., C.A. No. 99-2394,
2002 U.S. Dist. LEXIS 11730, at *39-40 (E.D. Pa. Jan. 3,
2002)(“1n federal district court cases, where jurisdiction is
based on diversity of citizenship, post-judgment interest is

governed by [28 U.S.C. § 1961] rather than by state law.”); see

also 28 U.S.C. § 1961. Accordingly, the instant Motion will be

31

l

Case 1:06-CV-00005-LPS Document 156 Filed 07/30/10 Page 33 of 33 Page|D #: 4425

granted in part and denied in part.
V. CONCLUSION

For the reasons discussed, judgment as a matter of law will
be denied as to the second and third grounds of Plaintiff's
breach of contract claim. Judgment as a matter of law will be
granted in favor of Defendants as to all other claims. 1n
addition, Plaintiff's Motion For Pre-Judgment 1nterest, Post-
Judgment 1nterest And Attorneys' Fees On Judgment For Breach Of
Contract, Fraud, And Unjust Enrichment Against Defendant David
Elkin (D.1. 134) will be granted in part and denied in part, and
Defendants’ Motion To Strike Plaintiff's Reply To Defendants’
Brief 1n Opposition To Plaintiff's Opening Post-Trial Memorandum
On His Equitable Claims And Renewed Motion For Judgment As A
Matter Of Law (D.1. 153) will be denied.

An appropriate Order will be entered.

32

